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                   Exhibit 3
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From:             Aaron Etra
To:               Steven Popofsky
Cc:               Joshua K. Bromberg; Pamela Frederick
Subject:          FW: Benthos v. Etra
Date:             Wednesday, September 02, 2020 4:47:10 PM


Mr. Popofsky,

I have not received a response to my August 28th email below where I conveyed my positive
response to your August 28th offer of a stay of judgment execution to pursue settlement, an effort
in which I am willing to be fully engaged.

In light of the forthcoming Jewish holidays, let me also request the extension of discovery until Oct
31st.

Thank you,

Aaron Etra


From: Aaron Etra <aaron@etra.com>
Date: Friday, August 28, 2020 at 6:03 AM
To: Steven Popofsky <SPopofsky@kkwc.com>
Cc: "Joshua K. Bromberg" <JBromberg@kkwc.com>, Pamela Frederick
<PFrederick@kkwc.com>
Subject: Re: Benthos v. Etra

Mr. Popofsky,

Thank you for this message.

Please understand that my only interest has been and remains to assist anyone who has suffered a
loss as a result of this business deal which could not be completed through no fault of mine. You and
your clients well know that I committed no fraud and I would appreciate your refraining from
continuing these accusations in your communications.

The answer to your specific question is, yes, I do want there to be a stay and no disparagement
period, as that is essential for me to be able to pursue the efforts of finding resources. I am starting
from scratch and need to have a manageable goal and the time to achieve it, while I am sure you
recognize that I would like to have this matter cleared as soon as possible, to avoid further
unmerited injury.

I believe I offered my first good faith proposal for a target monetary figure and my timing would be
nine months to assemble funds, in order not to fail on both counts, while keeping in mind that I want
to do the best possible, including timing. I look forward to an understanding response from your
clients who surely also recognize the realities of the situation.
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Thank you,

Aaron Etra


From: Steven Popofsky <SPopofsky@kkwc.com>
Date: Thursday, August 27, 2020 at 1:47 PM
To: Aaron Etra <aaron@etra.com>
Cc: "Joshua K. Bromberg" <JBromberg@kkwc.com>, Pamela Frederick
<PFrederick@kkwc.com>
Subject: Benthos v. Etra

Mr. Etra: Please see the attached. I trust we will not receive any more communications
claiming that you were only an innocent “service provider” seeking only to “assist”
Benthos, which you have been adjudicated to have defrauded out of millions of dollars.

If you wish to discuss a potential stay of judgment enforcement in order to pursue
settlement, please let me know immediately. Alternatively, if you wish to seek an
extension on certain aspects of the discovery, let me know that as well (we will not grant
any extensions on the eve of the due date).

With regard to the required notarization, you may be aware that notaries in New York
are permitted to act remotely during the pandemic; you should consult your bank
and/or counsel if you wish to avail yourself of that. Also in that regard, it is possible for
your deposition to be conducted remotely and we can discuss the logistics for that as the
date approaches. (For your information, the checks for the fees are being mailed to
you.)

In the absence of a written agreement, judgment enforcement is not stayed (or
extended) and is in effect and will proceed. If you violate your legal obligations, Benthos
will pursue contempt of court remedies, and given your history in this matter – it
remains incomprehensible that you have pretended to have been vindicated by the late
Judge Batts, who secured partial compliance with her orders only by threatening you
with federal prison – we expect the Court will not tolerate your customary evasions and
misrepresentations.

We will await hearing from you, or from counsel acting on your behalf.

 STEVEN R. POpOFsKY



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D 212.880.9882     |   spopofsky@kkwc.com
F 212.986.8866     |




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